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                              COURT OF APPEALS
                          SECOND DISTRICT OF TEXAS
                                 FORT WORTH

                             NO. 02-14-00496-CR


|James Michiemo                    |    |APPELLANT                        |
|                                                                          |
|V.                                                                        |
|The State of Texas                |    |STATE                            |


                                 ----------
               FROM THE 371st District Court OF Tarrant COUNTY
                          TRIAL COURT NO. 1364949D
                                ------------
                     MEMORANDUM OPINION[1] AND JUDGMENT
                                 ----------
      We have  considered  “Appellant’s  Motion  To  Dismiss  Appeal.”   The
motion complies with rule 42.2(a)  of  the  rules  of  appellate  procedure.
Tex. R. App. P. 42.2(a).  No decision of this court  having  been  delivered
before we received this motion, we grant the motion and dismiss the  appeal.
 See Tex. R. App. P. 42.2(a), 43.2(f).
                                             PER CURIAM
PANEL:  WALKER, MEIER, and GABRIEL, JJ.

DO NOT PUBLISH
Tex. R. App. P. 47.2(b)

DELIVERED:  January 15, 2015
-----------------------
      [1]See Tex. R. App. P. 47.4.


